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7
8                          IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,       )             No. CR-S 03-371-MCE
                                     )
13                  Plaintiff,       )
                                     )             ORDER RE ADDENDUM TO
14        v.                         )             PRESENTENCE REPORT
                                     )
15   DWAYNE LAMONT SLATER, et. al., )
                                     )
16                                   )
                    Defendant.       )             Hon. Morrison C. England, Jr.
17   _______________________________ )
18         For the reasons state orally in court at defendant Dwayne Lamont Slater’s
19   sentencing hearing on April 29, 2010, the Court adopts the Addendum regarding security
20   issues prepared by Mr. Slater’s counsel and provided to the probation officer and orders
21   that this order and the Addendum be attached to the final Presentence Report. For security
22   and family visitation reasons, the Court also recommends that the Bureau of Prisons place
23   Mr. Slater in the non-disruptive pen at USP Atwater to the extent that is consistent with
24   Mr. Slater’s security classification and space availability.
25
      Dated: April 29, 2010
26
                                                 ________________________________
27                                               MORRISON C. ENGLAND, JR.
28
                                                 UNITED STATES DISTRICT JUDGE
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